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                 IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

CORNELIUS WEBSTER,                            )
                                              )
           Plaintiff,                         )
                                              )
   v.                                         )   CIVIL ACTION NO. 2:20-CV-361-RAH
                                              )
ROBERT HENLINE, et al.,                       )
                                              )
           Defendants.                        )

                                          ORDER

         On July 24, 2020, the Magistrate Judge entered a Recommendation (Doc. 11) to

 which no timely objections have been filed. After an independent review of the file and

 upon consideration of the Recommendation, it is ORDERED that:

        1. The Recommendation of the Magistrate Judge is ADOPTED.

        2. This case is DISMISSED without prejudice for Plaintiff’s failure to provide the

a correct as ordered by this court.

        A separate Final Judgment will be entered.

        DONE, this 24th day of September, 2020.


                                             /s/ R. Austin Huffaker, Jr.
                                      R. AUSTIN HUFFAKER, JR.
                                      UNITED STATES DISTRICT JUDGE
